Case 8:24-cv-02736-VMC-LSG      Document 21     Filed 01/30/25   Page 1 of 6 PageID 69




                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    LAURA HIMES-RUETH,
    DIANE VALENTIN, and
    TRACEY ROBERTS,

          Plaintiff,
    v.                                     CASE NO.: 8:24-cv-2736-VMC-LSG

    RAUL MARRERO, JR.,

         Defendant(s).
    ______________________________/

    DEFENDANT RAUL MARRERO, JR.’S AMENDED ANSWER AND
      AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

          Defendant, RAUL MARRERO, Jr., with the consent of the Plaintiff

    pursuant to Rule 15(a)(2) hereby files his amended response to the Plaintiff’s

    Complaint as follows:

          1.     Admitted for jurisdictional purposes only.

          2.     Admitted for jurisdictional purposes only.

          3.     Admitted for jurisdictional purposes only.

          4.     Without knowledge, therefore denied.

          5.     Without knowledge therefore denied.

          6.     Without knowledge therefore denied.

          7.     Without knowledge therefore denied.

          8.     Admitted.

                                          1
Case 8:24-cv-02736-VMC-LSG    Document 21      Filed 01/30/25   Page 2 of 6 PageID 70




         9.    Admitted that Defendant was a probation officer. Otherwise,

               denied.

         10.   Admitted.

         11.   Without knowledge therefore denied.

         12.   There is no Paragraph 12 in the Complaint. To the extent that a

               response is required, denied.

         13.   There is no Paragraph 13 in the Complaint. To the extent that a

               response is required, denied.

         14.   There is no Paragraph 14 in the Complaint. To the extent that a

               response is required, denied.

         15.   There is no Paragraph 15 in the Complaint. To the extent that a

               response is required, denied.

         16.   There is no Paragraph 16 in the Complaint. To the extent that a

               response is required, denied.

         17.   There is no Paragraph 17 in the Complaint. To the extent that a

               response is required, denied.

         18.   Denied.

         19.   Denied.

         20.   Denied.

         21.   Denied.



                                         2
Case 8:24-cv-02736-VMC-LSG    Document 21    Filed 01/30/25   Page 3 of 6 PageID 71




         22.   Denied.

         23.   Without knowledge, therefore denied.

         24.   Denied.

         25.   Denied.

         26.   Denied.

         27.   Denied.

         28.   Denied.

         29.   Denied.

         30.   Denied.

         31.   Denied.

         32.   Denied.

         33.   Without knowledge, therefore denied.

         34.   Without knowledge, therefore denied.

         35.   Admitted that Defendant plead no contest to criminal charges and

               was incarcerated. Otherwise, denied.

         36.   Denied.

         37.   Denied.

         38.   Denied.

         39.   Denied.

         40.   Denied.



                                        3
Case 8:24-cv-02736-VMC-LSG       Document 21      Filed 01/30/25     Page 4 of 6 PageID 72




          41.    Denied.

          42.    Denied.

          43.    Denied.

                            AFFIRMATIVE DEFENSES

          1.     Plaintiffs’ Complaint fails to state a claim upon which relief can be

    granted.

          2.     Plaintiffs’ Complaint exceeds the scope of any administrative

    charge or claim.

          3.     Plaintiffs have failed to mitigate any damages or have suffered no

    damages.

          4.     Any action or inaction of Defendant was not the proximate cause

    of Plaintiffs’ alleged damages.

          5.     The actions taken by Defendant were done with probable cause

    and in compliance with applicable rules and regulations.

          6.     Defendant had a good faith basis for his actions.

          7.     Plaintiffs’ claims are barred by the doctrine of sovereign immunity

    and/or Eleventh Amendment immunity.

          8.     Defendant is entitled to a set-off for any amounts received or to be

    received from any collateral source.




                                            4
Case 8:24-cv-02736-VMC-LSG         Document 21      Filed 01/30/25     Page 5 of 6 PageID 73




           9.      The claims against Defendant should be barred because he did not

    act in bad faith, with malicious purpose, or in a manner exhibiting wanton and

    willful disregard or human rights or safety.

           10.     The claims against Defendant should be barred based upon the

    principle of qualified immunity as his actions were part of his discretionary

    authority, did not violate clearly established statutory or constitutional rights that

    a reasonable person would have known, nor were said actions deliberately

    indifferent.

           11.     Defendant is entitled to the limitations of liability contained within

    Florida and Federal law. Any verdict or judgment against Defendant should be

    limited accordingly.

           DATED this 30th day of January, 2025.

                                       THOMPSON, CRAWFORD,
                                       BROWN & SMILEY, P.A.

                                       /s/ Thomas R. Thompson
                                       _________________________
                                       THOMAS R. THOMPSON, ESQUIRE
                                       Florida Bar No. 890596
                                       tom@tcslawfirm.net
                                       MALLORY B. BROWN, ESQUIRE
                                       Florida Bar No. 124039
                                       mallory@tcslawfirm.net
                                       victoria@tcslawfirm.net
                                       1330 Thomasville Road
                                       Tallahassee, FL 32303
                                       (850) 386-5777
                                       ATTORNEYS FOR DEFENDANT

                                              5
Case 8:24-cv-02736-VMC-LSG     Document 21     Filed 01/30/25   Page 6 of 6 PageID 74




                         CERTIFICATE OF SERVICE

          I HEREBY certify that a true and correct copy of the foregoing has been

    sent by Electronic Filing through CMECF to James M. Slater, Esq., at

    james@slater.legal.com, this 30th day of January, 2025.


                                   //s/ Thomas R. Thompson
                                   _________________________
                                   THOMAS R. THOMPSON, ESQ.




                                         6
